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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

     UNITED STATES OF AMERICA,

                    Plaintiff,

     v.                                           Case No. 8:07-cr-107-T-17EAJ

     TERRENCE TAYLOR,

                    Defendant.
                                            /

                                             ORDER

                    THIS CAUSE is before the court on Defendant Taylor’s Motion to Set

     Reasonable Bail (Doc. 44) and the government’s response in opposition (Doc. 45). By

     his motion, the Defendant outlines ties to the Middle District of Florida and offers up

     certain conditions of release to assure his appearance at future proceedings before the

     court.1

                    The Defendant stands indicted for conspiring to possess with intent to

     distribute 500 grams or more of a mixture containing cocaine. Additionally, the

     government has filed a notice of prior conviction pursuant to 21 U.S.C. §§ 841(b)(1)(B)

     and 851. (Doc. 53). Heretofore the court entered an order directing the Defendant’s

     detention during pretrial proceedings on the basis of his failure to overcome the statutory

     presumptions that pertain in a drug case such as this. However, the court granted leave to

     counsel to revisit the matter should circumstances warrant. (Doc. 25).

                    Upon consideration, the Defendant now proposes substantial conditions of

     release which likely permit him to overcome the statutory presumption that he is a risk of


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              Particularly, Defendant claims lifelong ties to the district, a “committed
     relationship” with another individual with whom he has two children, and employment
     opportunities in the Middle District should he be released. Additionally, the motion
     offers up equity in real property of a third party as security for Mr. Taylor’s release.
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     flight. However, the Defendant does not overcome the presumption that he continues to

     be a danger to the community of further criminal activity should he be released. As

     reflected in the Pretrial Services report, the Defendant has a significant criminal history

     including violent crimes and at least one prior conviction involving cocaine. Subsequent

     to the initial proceedings, the court received a copy of a confidential criminal intelligence

     memorandum from the Bureau of Classification and Central Records of the Florida

     Department of Corrections. The memorandum reflects on the Defendant’s long standing

     membership in a street gang and other pertinent information.2 Further, a review of

     Defendant’s criminal history indicates that he has not done well under previous probation

     supervision and is unlikely to do well on pretrial release supervision. In all the

     circumstances, the court concludes that while it is unlikely that the Defendant will flee, it

     is highly likely that he will again engage in criminal conduct should he be released.

     Accordingly, the court again concludes that the Defendant has not overcome this

     statutory presumption and accordingly, the Motion to Set Reasonable Bail (Doc. 44) is

     DENIED.

                    Done and Ordered in Tampa, Florida, this 15th day of May 2007.




     Copies furnished to:
     Jeff Downing, Assistant U.S. Attorney
     Fred Vollrath, Counsel for Defendant




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              A copy of the security memorandum is available for defense counsel’s review at
     the Pretrial Services office.

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